COMPOSITE
 EXHIBIT B
                                        Patrick Clayton                         June 30, 2023
                    Smith, Stevenv. Augusta-Richmond County, Georgia, et al.

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1                          IN THE UNITED STATE DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
2                                    AUGUSTA DIVISION
3
4
        STEVEN SMITH,                              )
5                                                  )
             Plaintiff,                            )            CIVIL ACTION NO.
6                                                  )             1:21-cv-00149
             v.                                    )
7                                                  )
        AUGUSTA-RICHMOND COUNTY                    )
8       GEORGIA, et al,                            )
                                                   )
9            Defendants.                           )
10
11
                                    VIDEO DEPOSITION OF
12                                     PATRICK CLAYTON
13
14                                      June 30, 2023
                                           1:09 p.m.
15
16
                                       400 Walton Way
17                                   Augusta, Georgia
18
19                  Christine Tatum, 5139-6588-4964-8640, CCR
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1              A.   Yes.

2              Q.   Tell me when that was.

3              A.   That was at the Board of Education Police.          When I was

4       the chief of police he worked with me and for me.

5              Q.   What about at the sheriff's office, have you ever been

6       his superior officer there?

7              A.   No, sir.     My only involvement here has been the day -- I

8       came in the day he came into office.

9              Q.   I see.

10             A.   We came in together.

11             Q.   Oh, okay.

12             A.   I was appointed.

13             Q.   He came in in 2016?

14             A.   2013.     January 1st of 2013.

15             Q.   Oh, I see.     So that's where the 11 years comes from.

16      That's when you got your present position.

17             A.   Uh-huh.

18             Q.   I see.     All right.    I -- you -- generally you got to say

19      yes.    I mean, you're on the machine, but instead of uh-huh, I

20      think --

21      [Crosstalk.]

22             A.   Okay.     I'm sorry.    Yes.

23             Q.   (By Mr. Stebbins)       Okay.

24             A.   Yes.

25             Q.   In your present job, how often during a week, an

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1       ordinary week, do you think you talk with Sheriff Roundtree, not

2       to say hello in the morning, but about law enforcement problems

3       that have come up in your division?

4            A.     Probably every day.

5            Q.     So, and I'm trying to get an idea of what degree of

6       supervision or information he would normally have about what's

7       going on in your division.

8                   Do you make it a point to talk to him every day about

9       what has happened that day in your division, or -- or is it

10      something else?

11           A.     No, sir.   What I do do is, the things I know that he

12      finds to be important, 'cause I -- I've --          I get all kinds of

13      stuff, information, and things happen in Richmond County every

14      day, but it's kind of one of those things, I know what he needs to

15      know and what he doesn't need to know.         For example, if I -- if I

16      told him everything that was going on, we -- we would --

17           Q.     There'd be no time.

18           A.     -- be speaking -- yeah, we'd be speaking all day long.

19           Q.     Okay.

20           A.     So --

21           Q.     Now --

22           A.     -- I just give him the high points.

23           Q.     -- I think that you've told me that you had no prior

24      knowledge of Mr. Smith's activities out in the abortion clinic.

25           A.     Not that I can recall.

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1       somebody else?

2            A.     I don't know who that was.

3            Q.     Okay.   And when you say, let's try to make a case if we

4       can, this seems like it's affecting commerce and peace, what I

5       want to get an idea of is what information you based your

6       direction, let's try to make a case if we can.           You -- you read

7       these emails, you know that Captain D'Amico, at your direction,

8       investigated the matter, you know that he came back with some

9       conclusion, although you don't know specifically what it was.

10                  And did anyone make any effort, to your knowledge, to

11      contact Mr. Smith or any other protester or any lawyer

12      representing them before reaching this conclusion?

13           A.     No, sir.   I don't know that anybody was contacted, as

14      far as his lawyer or whatever.

15                  MR. STEBBINS:    All right.     That's all for that one.       You

16           can give that to her.

17           Q.     (By Mr. Stebbins)     Now, that brings us up through --

18      through June the 16th of 2020.       Does -- and I realized this all

19      runs together, because we got some more, but just so far as we've

20      gotten now, we're still under the old ordinance, the new ordinance

21      became effective in 2021, and I'm about to get into 2021.

22                  Does any of this cause you to remember any conversations

23      that you would have had with Sheriff Roundtree about Mr. Smith or

24      protests at the abortion clinic or the old noise ordinance?

25           A.     You know, I could have -- I could have forwarded him an

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1       email, I could have -- something like that, but, as far as like

2       sitting down and discussing this as like a big issue with him, I

3       don't -- I don't recall -- recall that at all.

4            Q.     Colonel --

5            A.     Is it possible?     Yes.

6            Q.     Would Colonel Chew, would he be your superior officer or

7       is he not in your chain of command?

8            A.     He's in my chain of command.

9            Q.     Do you have any idea why Mr. Burnside would have

10      included Colonel Chew in his email?          That seems odd to me.

11           A.     Well, he -- he used to be -- at one point he was

12      actually the -- he was over CID for a while as a major, and then

13      he was over field ops.      At some point in time we moved Major

14      Strickland out, I don't remember exactly when it was, but it might

15      have been that.     I don't know.      Because I want to say like in '17

16      he was probably a major.

17           Q.     But you don't know of any reason that Colonel Chew would

18      have been included in Mr. Burnside's communication, do you?

19           A.     No, I -- I -- I'm not -- I can't think of one --

20           Q.     Okay.

21           A.     -- right now, other than when he was over field ops, and

22      I don't if you remember if he was --

23           Q.     Okay.

24           A.     -- then or not.

25           Q.     And do you recall discussing, at any time, disturbances

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                                       Richard Roundtree                        June 30, 2023
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1            Q.     Okay.   And are you aware of that from time to time there

2       have been complaints about the activities of people preaching or

3       protesting at or adjacent to that location?

4            A.     That was brought to my attention via this lawsuit by my

5       in-house counsel.

6            Q.     Before this lawsuit came along were you aware that there

7       were complaints out there at that location?

8            A.     I was not.

9            Q.     Okay.   Have you -- who have you spoken to, other than

10      your lawyers, about the fact that there are complaints -- there

11      have been complaints out of there, and based on what you've told

12      to me now, that would be nobody prior -- it would really be

13      nobody; would -- would that be the correct answer?

14           A.     Besides in-house counsel, that is correct.

15           Q.     Okay.   Have you -- and some of these questions seem like

16      they repetitive, Sheriff, but that's --

17           A.     That's fine.

18           Q.     -- so I can be sure, you know, I know.

19                  Have you discussed complaints at the abortion facility

20      with Chief Clayton?

21           A.     I have not.

22           Q.     Do you know Mr. Thomas Burnside?

23           A.     I do not.

24           Q.     Then it follows that you've never discussed complaints

25      at the abortion clinic with Mr. Burnside; is that correct?

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